                 Case 1:23-cr-00040-JMB ECF No. 131, PageID.1308 Filed 10/18/23 Page 1 of 1

                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       Brian Dennis Pierce                                                    DISTRICT JUDGE:         Jane M. Beckering

    CASE NUMBER                      DATE                TIME (begin/end)           PLACE                   INTERPRETER
     1:23-cr-40-3                10/18/2023         10:58 AM - 11:45 AM          Grand Rapids




                                                            APPEARANCES
Government:                                           Defendant:                                      Counsel Designation:
Christopher M. O'Connor, Richard Clayton Stiffler Ben M. Gonek                                        Retained

             TYPE OF HEARING                                DOCUMENTS                               CHANGE OF PLEA
    Arraignment:                                  Defendant's Rights                   Charging Document:
       mute             nolo contendre                                                     Read           Reading Waived
                                                  Waiver of Indictment
       not guilty       guilty                                                         Guilty Plea to Count(s)
                                                  Other:
    Final Pretrial Conference                                                          of the
    Detention        (waived     )
                                                                                       Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                         Court to Issue:

    Bond Violation                                Order of Detention                       Presentence Report Ordered
    Change of Plea                                Notice of Sentencing                    Presentence Report Waived
                                                  Order Appointing Counsel                Plea Accepted by the Court
✔   Sentencing
    Trial
                                              ✔   Other:                                  Plea Taken under Advisement
                                              Judgment
    Other:                                                                                 No Written Plea Agreement

                                                             SENTENCING

Imprisonment: 24 Months                                            Plea Agreement Accepted:     ✔ Yes       No

Probation:                                                         Defendant informed of right to appeal:    ✔ Yes      No
                                                                   Counsel informed of obligation to file appeal:    ✔ Yes   No
Supervised Release: 2 Years
Fine: $ 25,000.00                                                  Conviction Information:
Restitution: $                                                         Date: 5/12/2023
                                                                       By: Plea
Special Assessment: $ 100.00
                                                                       As to Count (s): Three

ADDITIONAL INFORMATION:




                    CUSTODY/RELEASE STATUS                                           BOND AMOUNT AND TYPE

Self-Surrender as notified by US Marshal/BOP                           $

CASE TO BE:                                                        TYPE OF HEARING:

Reporter/Recorder:         Genevieve Hamlin                         Case Manager:        R. Wolters
